                       IN THE UNITED STATES DISTRICT
                     COURT FOR THE NORTHERN DISTRICT
                        OF TEXAS FT. WORTH DIVISION

 EUGENIO VARGAS                             §
 Plaintiff/Counterclaim Defendant           §
                                            §
                                            §
                                            §
                                            §
 V.                                         §                    Case No. 4:22-CV-00430-Y
                                            §
                                            §
 ASSOCIATION OF                             §
 PROFESSIONAL FLIGHT                        §
 ATTENDANTS, JULIE HEDRICK,                 §
 ERIK HARRIS                                §
                                            §
                                            §
 Defendants/Counterclaim Plaintiff.         §

INDEX TO APPENDIX TO PLAINTIFF’S BRIEF IN SUPPORT OF ITS RESPONSE TO
           DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

Tab Description                                                        Appendix Pages
  1. 04/20/2022 and 10/22/2020 Email from O’Neil to Harris and         001-015
     Harris to Nikitas and Officers containing Full Review and
     Confidential Memo
      (prepared by Woods Stephens & O’Neil, L.L.P)

   2. 04/18/2022 Affidavit of Nena Martin and communication            016-024
      from National Treasurer, Erik Harris, to the entire Board
      and Executive Committee

   3. 01/14/2022 Plaintiff's Original Petition                         025-035
      (Tarrant County Justice Court, Precinct Three
       Cause No. JP03-22-D C00017757)

   4. 06/18/2014 APFA Constitution                                     036-048
      (Article VII – governing hearings and disciplinary procedures)

   5. AAA Recommendation “Challenges to an Arbitration                 049
      Award”
      (published by The American Arbitration Association)
Tab Description                                                  Appendix Pages
 6. Affidavit by Ladonna Casey                                   050-052
 7. 09/23/2019 1st Set of Charges Against Vargas                 053-057
    (Chinery and Lee Recommendation re Charges
     Executive Committee’s vote Charges were not timely filed)

 8. 11/24/2020 2cd Set of Charges Against Vargas                 058-062
    (Chinery and Lee Recommendation re Charges
    Executive Committee’s vote Charges were not timely filed)

 9. 12/1/2020 APFA Executive Committee Resolutions               063-065
    Recommending Disciplinary Proceedings against Ross and
    Vargas

 10. 07/2019 -01/2020 Disparaging Emails and Social Media        066-067
     Posts
     (Chinery-Lee criticism of Ross to APFA members)
APPENDIX
APPENDIX 1
APPENDIX 2
APPENDIX 3
APPENDIX 4
APPENDIX 5
APPENDIX 6
APPENDIX 7
APPENDIX 8
APPENDIX 9
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APPENDIX 12
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                                                                                 APPENDIX 16
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                                                                                                             FILED
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                                                                                   Justice of the Peace, Precinct 3
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                                                JP03-22-DC00017757
                                 NO.




DIVERSIFIED CREDIT SYSTEMS,                        §   IN THE JUSTICE           0F THE PEACE
ASSIGNEE FOR THE "ASSOCIATION                      §   COURT
OF PROFESSIONAL FLIGHT                             §
ATTENDANTS"                                        §
Plaintiff,                                         §
                                                   §
V.                                                 §   NO. 3
                                                   §
ROBERT (BOB) ROSS                                  §
Defendant.                                         §   TARRANT COUNTY, TEXAS

                               PLAINTIFF'S ORIGINAL PETITION

T0 THE HONORABLE JUDGE 0F SAID COURT:
         NOW COMES Diversied            Credit Systems, Assignee Of a cont-act (Agreement) 'om

the Association of Professional Flight Attendants, hereinafter called
                                                                        Plaintiff, complaining of and

about Robert (Bob) Ross, hereinafter called Defendant, and for cause of action shows unto the

Court the following:

                             DISCOVERY CONTROL PLAN LEVEL
         1.    Plainti'    intends that discovery be conducted under Discovery Level 3.

                                     PARTIES AND SERVICE
         2.    Plainti‘,    Diversied    Credit Systems (a D/B/A of McGaughey, Reber and

Associates, 1110.), Assignee for the "Association of Professional Flight Attendants", is a business

entity operating in the State of Texas and whose address is P.O. Box 3424, Longview, TX

75606.

         3.    Diversied      Credit Systems, Assignee of the Association of Professional Flight


                                             Page 1 of5

                                                                                          APPENDIX 25
Attendants has not been issued a driver's license. Diversied         Credit Systems, Assignee of the

Association of Professional Flight Attendants has not been issued a social security number.

         4.       Defendant Robert (Bob) Ross, an Individual who is a nonresident of Texas, may

be served with process at his home at the following address:          4701 Hayloft Court, E1 Dorado

Hills, CA 95762. Service of said Defendant as described above can be effected by certified mail,

return receipt requested.

                                     JURISDICTION AND VENUE
         5.       The subject matter in controversy is within the jurisdictional limits ofthis court.

         6.       Plaintiff seeks:

                  a.      only monetary relief of $10,000.00 or less, excluding interest, and attorney

fees and costs.

         7.       This court has jurisdiction over Defendant Robert (Bob) Ross, because said

Defendant at the time he purposefully availed himself of the privilege of conducting activities in

the state of Texas was a Texas Resident and resided in Tan'ant County, Texas,               Defendant

executed the attached Transition Agreement (hereinafter referred to as the "contractual

Agreement" or "Agreement") with the Board of Directors for the "Association of Professional

Flight Attendants", who thereafter assigned the contractual Agreement to Plaintiff to collect

certain sums due and owing pursuant to the Agreement.

         8.       Plaintiff would also show that the cause of action arose 'om        or relates to the

contacts of Defendant Robert (Bob) Ross to the state of Texas, thereby conferring specic

jurisdiction with respect to said Defendant.

         9.       Plaintiff would further show that the Agreement was to be performed in Tarrant

Texas.



                                               Page 2 ofS

                                                                                       APPENDIX 26
         10.     Venue in Tarrant County is permissive in this cause under Section 15.002(a)(3) of

the Texas Civil Practice and Remedies Code because this county was the
                                                                              principal residence of

Robert (Bob) Ross, Defendant at the time he signed the Agreement.             Defendant resided in

Southlake, Tarrant County, Texas at the time he executed the Agreement, and therefore, Venue is

property in Justice of the Peace, Precinct 3, Tarrant County, Texas.

                                    FACTUAL ALLEGATIONS
         11.     0n or about March 1, 201 8, the Association of Professional Flight Attendants

(hereafter referred to as      "AFPA") entered into a written contract with Robert (Bob) Ross,

providing that Defendant would receive certain funds listed in the contract.         A copy of the
contract is attached as Exhibit "A" and incorporated by reference and for all purposes.

        12.      The Contract has been assigned to the Plaintiff, Diversied   Credit Systems, for all

purposes by Assignor AFPA, but primarily for the purpose of collection of the amounts owed

Plaintiff.

                                     BREACH 0F CONTRACT
        13.      Plaintiff incorporates by reference the allegations set forth above as if the same

were fully set forth herein.

        14.      Plaintiffs Assignor, APFA has met all of its obligations under the Transition

Agreement (Contract) and all sums due Defendant were fully paid and accepted by Defendant.

        15.      All contractual obligations of the Association of Professional Flight Attendants
have been illy    performed.

        16.      Defendant has failed to perform his contractual obligations, specically,           an

accounting was performed by the Certied      Public Accounting rm      of Wood, Stephens & O'Neil.

A copy of that rms     audit showed that Defendant had been paid in excess of the sums due him




                                             Page 3 of5

                                                                                    APPENDIX 27
under'the Agreement in the sum of $5,436.47. The rms        Audit report is attached as Exhibit "B"

and attached for all purposes.

        17.     The APFA made demand on Defendant's to reimburse Plainti‘                   for the

overpayments.    A copy of the accounting and Memorandum 'om          the accountant is attached as

Exhibit "B" and incorporated for all puxposes herein.          Defendant has been provided the

accounting and the Accounting nns      report, but Defendant has failed to reimburse APFA for the

overpayments.

        18.   Documentation and demand has been provided Defendant on multiple occasions,

including om    APFA, Assignee, Diversied     Credit Systems and the undersigned Attorney.

                                           DAMAGES
        l9.     Plaintiff has sustained damages within the Comt's jurisdictional limits of this

Court, and as a result of the actions and/or omissions of Defendant described hereinabove,

including, but not limited to:

                Actual or economic damages for $5,436.47.

                                 OTHER RELEF REQUESTED
                                      ATTORNEY'S FEES
       20.      Request is made for all costs and reasonable and necessary attorney's fees

incurred by or on behalf of Plaintiff herein, including all fees necessary in the event of an appeal

ofthis cause to a County Court at Law, Court of Appeals and the Supreme Court of Texas, as the

Court deems equitable and just, as provided by Chapter 38 of the Texas Civil Practice and

Remedies Code.

                                 ALTERNATIVE ALLEGATIONS
       21.      Pursuant to Rules 47 and 48, Texas Rules of Civil Procedure and the rules of




                                            Page 4 of 5

                                                                                   APPENDIX 28
pleadings, allegations in this petition are made in the alternative.




                                              PRAYER
         WHEREFORE, PREMISES CONSIDERED, Plaintiff, Diversied                        Credit Systems,

Assignee of the Association of Professional Flight Attendants, respectfully prays that the

Defendant be cited to appear and answer herein, and that upon a nal            hearing of the cause,

judgment be entered for the Plaintiff against Defendant for damages requested hereinabove in an

amount within the jurisdictional limits of the Court, together with prejudgment and postjudgment

interest at the maximum rate allowed by law, attorney's fees, costs of court, and such other and

irther   relief to which the Plaintiff may be entitled at law or in equity, Whether pled or unpled.


                                               Respectllly   submitted,

                                               /S’/                    R.
                                               Michael R. Rake, Attorney at Law, PLLC
                                               State Bar # 16487600
                                               P.O. Box 1556, Lake Dallas, TX 75065
                                               Tel. & Fax: 940-498-2103
                                               E-mail: mrake1@mrakeattorney.com

                                               Attorney for:
                                               Diversied     Credit Systems, Assignee of the
                                               Association of Professional Flight Attendants




                                             Page 5 of5

                                                                                     APPENDIX 29
                                    TRANSITION AGREEMENT
           This TRANSITION AGREEMENT (here
                                                   inafter referred to as the "Agreement“) is
 entered into between President ROBERT ROSS
                                                      (hereinafter referred to as "ROSS"), and
 the ASSOCIATION OF PROFESSIONAL FLIG
                                                  HT A'ITENDANTS. through its Votin Board
                                                                                         g
 of Directors and on behalf of        and  all  of its ofcers, directors, empl
                                 any                                             oyees. agents,
 members,   and  attorneys, in their ofcial and individual capacities
                                                                          , together with their
 successors both jointly and severally (here
                                             inafter collectively and individually referred to as
“APFA”).
           WHEREAS, President ROSS and APFA. through its Votin Board of
                                                              g         Directors, find it
mutually benecial     and in the best interests of the
                                                         membership to enter into this Transition
Agreement; and
       WHEREAS, President ROSS has previously announced his intention
                                                                      not to seek re-
election for APFA President, and as such the
                                             parti have   es         agreed on the terms of this
Agreement.
       NOW THEREFORE, ln consideration of the mutu
                                                                al covenants contained in this
Agreement, President ROSS and APFA (here        inafter collectively referred to as "the Parties"),
intending to be legally bound. do hereby
                                        stipulate and agree as follows:
       1.       ROSS hereby voluntarily and irrevocably
                                                         resigns from his   position as the
               National President of APFA effective at the
                                                                close of the 2018 APFA
               Convention, and agrees to announce his resig
                                                            nation by the close as well.
      2.       ROSS will have access through the close of business on
                                                                       March 9, 2018 to his
               APFA ofce, les, and computer to naiiz'e his affairs.
                                                                         Starting upon the
               announcement of the resignation, all
                                                   emails, telephonic calls, correspondence
               and affairs regarding or directed to the APFA
                                                                National President shall be
               immediately routed to the successor APFA National President.
      3.       APFA agrees that ROSS will continue to receive from APFA
                                                                                 his current full
               salary and benets,   Including full insurance coverage. throu
                                                                             gh July 31, 201 8.
     4.        APFA agrees to pay ROSS all of his accrued and unused
                                                                               sick and accrued
               and unused vacation time, from
                                                April 1, 2016 through July 31, 2018.
     5.        APFA agrees to pay Ross, upon his reque
                                                           st, a one—time lump sum in the total
               amount of ten thousand dollars
                                             ($1 0,000.00), which represents ROSS’s
               moving expenses. ROSS shall present the movi
                                                            ng expenses to APFA for

  Page 1 of4                            '-



                                                EXHIBIT                    March 1. 201810
                                        .
                                                                 I




                                                I13”                                APPENDIX 30
               payment through 201 9.
       6.     APFA and ROSS will each prepare a communication
                                                                             regarding ROSS's
               resignation.   APFA shall disseminate said communications
                                                                                 simultaneously
              upon the announcement of the resig     nation. Each statement shall be mutually
              agreed upon by both Parties prior to its distribution. Furth
                                                                             er, the Parties will
              mutually agree on talking points that shall be used for
                                                                         responses to inquiries
              from APFA members. the press and the
                                               ,          general public for use, beginning with
              the announcement.
   7.         The Parties agree that the existence, terms, and content
                                                                         ofthis Agreement are
              completely condential.    ROSS agrees not to disclose the existence, term
                                                                                           s, or
              content of this Agreement to any third
                                                       party, except to his spouse, accountant.
             nancial   advisers, or attorney. APFA agrees not to disclose the
                                                                                      existence,
              terms, or content of this Agreement, except to the
                                                                            signatories to this
              Agreement,   and  to any APFA ofcers, empl
                                                             oyees, accountants or attorneys
              who have an explicit need to know of this
                                                          Agreement in' order to eectuate its
              terms. The Parties shall be respo
                                                     nsible for ensuring in writing" that the
              condentiality provisions of this Agreement are
                                                               fully eXplained and adhered to
              by anyone to whom permitted disclosures are made
                                                                              pursuant to this
              paragraph. The Parties agree that they will respond to all
                                                                            inquiries regarding
             Ross’ transition with APFA in accordance with the comm
                                                                        unications and talking
             points prepared pursuant to numbered paragraph 6 of this
                                                                           Agreement.
  8.         ROSS agrees not to make, orally or in writin
                                                              g, any statements disparaging
             APFA and/or the Board of Directors, whether or not such state
                                                                                 ments legally
             constitute libel or slander, and whether such
                                                                statements are made to the
            media, to other individuals, or othenlvise. Likewise, APFA's Boar
                                                                                d of Directors,
            and its ofcers, employees and
                                                agents who are aware of this Agreement
            pursuant to the condentiality provisions oi numbered
                                                                         paragraph 7 of this
            Agreement, agree not to make, orally or in writing, any statements
                                                                                   disparaging
            ROSS or his immediate family, whether or not such
                                                                          statements legally
            constitute libel or slander, and whether such state
                                                                     ments are made to the
            media, to other individuals, or otherwise.




Pagez on                                                                March 1,201s:1.o


                                                                                  APPENDIX 31
     9.        The current APFA National Vice-President will be included in all discussions
               with the APFA Board of Directors regard
                                                          ing the lling    of the APFA National
               Vice-President position.
     10.       The Parties and signatories to this Agreement have
                                                                              carefully read and
               understand this Agreement and acknowledge that no
                                                                           party has made any
               representations other than those contained herein.
     11.       The Parties agree that this Agreement constitutes their nal         and complete
               understanding with respect to the subject matter hereof and supersedes all
               prior   or   contemporaneous     negotiations,     promises,                    or
                                                                                agreements
               representations concerning any matters directly. Indirectly, or
                                                                               collaterally
               related to the subject matter of this Agreement. This
                                                                     Agreement may be
              executed in counterparts, each of which shall constitute an
                                                                              original, and all of
              which together shall constitute one and the same
                                                             Agreement. Electronic and
              facsimile copies shall constitute originals for all
                                                                  purposes, including
              enforcement.
    12.       The Parties agree thatthis Agreement cannot be amended or modied
                                                                                           except
              by express written consent of the Parties hereto.
    “l3.      The Parties agree to submit any and all disput
                                                                  es regarding the validity or
              enforcement of this Agreement to a mutually chosen arbitrator whose
                                                                                         decision
              shall be binding on both Parties. The expenses of the arbitrator shall
                                                                                        be borne
              by APFA. Venue shall be by agreement of the parties.
   14.     if any provision, or any part thereof, in this Agreement is found to be invalid
                                                                                                ,
              such determination shall not affect the validity of
                                                                    any other provision(s) or
              part(s) of this Agreement.
   15.     The terms and conditions of this Agreement shall be
                                                                    binding upon the Parties’
           successors and assigns.

   lN WlTNESS WH EREOF, APFA and President ROSS have
                                                                    executed this agreement




                                                __szl_z,LLe____
                                                Date


Page 3 of 4                                                               March 1. 201 8:1.0


                                                                                   APPENDIX 32
      BY APF ‘                       ITS VOTING BOARD OF DIRECTORS):


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     ’abert Valenta- ICA—AA                           Date
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     Maureen Walsh Martin -DFW
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     John   ikides—LAX         .—-
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      aymond
               Lw                                     Date




 'Kim Kaswinkel— PHL                                 Date
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 Mischa! Babi      —-
                        PHX.                         Date




Matt Faust H STL                                     Date




       Page 4 of 4
                                                                                    March 1, 2018:1.0


                                                                                             APPENDIX 33
  WOOd , Stephens &                                      6300 Ridglea Place, Suite 318
                                                         Fort Worth, TX 76116
  O’Neil, L.L.P.                                         Tele. 817-377-1700
  Certified Public Accountants                           Fax 317-377-1870




                             CONFIDENTIAL MEMORANDUM
 MEMO T0:                APFA Board of Directors and the Executive Committee
 FROM:                   Hal O’Neil, CPA, Pam Bush
 SUBJECT:                Review of officer disbursements and the Bob Ross transit
                                                                                  ion agreement
 DATE:                   October 22, 2020


     The current APFA ofcers. in consultation with the APFA staff
                                                                  attorney and outside counsel,
 requested that our rm review specic former ofcer expen
                                                               se reimbursements and payroll
 disbursements, as weil as the payments arising from the Bob Ross
                                                                          confidential transition
 agreement. This informal engagement is substantially less in        than an audit engagement,
 the objective of which would be the
                                                              scope
                                          expression of an opinion regarding these specic
 disbursements. Accordingly, we do not
                                        express an opinion or any form of assurance regarding
 these disbursements. Our task under this informal
                                                   engagement, was as follows:
 1.   To review the backup for the former ofcers’
                                                  salary disbursement amounts from 2016 - 201 8
      and to determine these base salaries were calculated
                                                             correctly and in compliance with the
      guidelines and pay rates stipulated in the APFA policy manual. Please see the
      schedule A for each ofcer.                                                        enclosed

2. To prepare an overpayment schedule of the accrued and
                                                                unused sick, and accrued and
   unused vacation time payments made to Bob Ross in 201
                                                                  8, similar to the overpayment
   schedules we prepared previously for the other three ofcers.
                                                                       Please see the enclosed
   schedules B and C for each officer. These
                                                overpayment schedules for the other ofcers
   were previously provided to the Board of Directors. Please note
                                                                       the Bob Ross condential
   transition agreement states that he will be      all of his
                                               paid            accrue   d and unused sick, and
   accrued and unused vacation time. This                doesn 't
                                             agreement             specify that the payments be
   made in accordance with the policy manual
                                                  guidelines. Consequently. these payments
   appear appropriate and in compliance with the transition agreem
                                                                      ent. This agreement also
   species reimbursement payments to him of up to $10,000 in actual
                                                                          moving expenses. His
   moving expense reimbursement payments did not exceed this amount.

3. To assist the APFA accounting
                                 department staff in reviewing and organizing the various
   requested documents, as set forth in the ight    attendants Chinery and Lee nancial
   document request.

      Please contact us should the Board of Directors or the Executive Comm
                                                                            ittee have questions
regarding our limited engagement.

                                                    Sincerely,

                                                   ‘Haz ON’eiz, CPA


                                                                                  APPENDIX 34
                                                     C

 National Ofcer:             Bob Russ


                                                  Annual
                                                   salary
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                                 dag per agreement}
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         Duinalamuunt-naidInemzrlai                118,046.02              334.58                  35                11,110.30 madam/20m
         Correct ralwiation amount                 107,393.92              735.60                  35                10,345.00

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                                                                                     (New                            $64.30         5    1.36430

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         nrrgInaIamoum-paidtn annual        S      118,045.02                                 20.04 1                5,333.82 {units/25mm
         Correctalculatlm amuunt            S      107.0933:               354.53!
                                                                           235.60             20M t                  60443.06
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                                                                                                                                                     APPENDIX 35
APPENDIX 36
                      ARTICLE II
                      MEMBERSHIP


Section 1. ELIGIBILITY FOR MEMBERSHIP:
  A. Any person in the craft and class of Flight Attendant at
     an airline at which the APFA is the recognized
     Bargaining Agent for the Flight Attendant employee
     group at that airline shall be eligible to join and maintain
     membership in the APFA as hereinafter provided.
  B. A Flight Attendant who accepts a paid position with the
     employer outside the craft and class of Flight Attendant
     shall no longer be eligible for membership in the APFA. If
     the person returns to the position of Flight Attendant, he
     or she shall be eligible to rejoin the union, upon payment
     of APFA’s re-initiation fee.

Section 2. OBLIGATIONS OF MEMBERS:
  Members of the Association do accept and agree to abide
  by this Constitution of the APFA as it is in force or as it may
  be altered, added to, deleted from or amended in
  accordance with the provisions of this Constitution.
  Ignorance of this Constitution will not be considered a
  proper excuse for any violation of the provisions contained
  herein. Inherent in the rights, privileges, duties and
  responsibilities of membership in the APFA is the obligation
  to responsibly exercise these rights, privileges, duties and
  responsibilities.

Section 3. BILL OF RIGHTS OF MEMBERS:
  A. All members of the APFA shall have the right of free
     speech, freedom of assembly and freedom to dissent.
  B. All members of the APFA shall have access to all
     administrative and financial reports and records except
     as provided in Section 5.B(1) of this Article II.
  C. All members of the APFA shall have the right to
     individual pprivacy.
                       y
  D. All members of the APFA shall have the right to due
     process and equal representation.
  E. All members of the APFA shall have full equality of rights
     and shall not be discriminated against because of
     national origin, race, religion, creed, age, disability, sex,
     sexual orientation or gender identity.

Section 4.         CLASSIFICATION OF MEMBERSHIP:
                   – ACTIVE:



6                                            ARTICLE II ņ MEMBERSHIP   APPENDIX 37
APPENDIX 38
APPENDIX 39
APPENDIX 40
APPENDIX 41
APPENDIX 42
APPENDIX 43
APPENDIX 44
APPENDIX 45
APPENDIX 46
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                 APPENDIX 47
APPENDIX 48
Challenges to an Arbitration Award
The American Arbitration Association® (AAA®) is an administrative organization with no authority to modify, vacate, or
re-open a previously awarded arbitration. As a result, the AAA’s role in the arbitration process generally ends at the time
that the award is transmitted to the parties. If a party to an arbitration wishes to challenge an award for any reason,
they need to make an application to a court except in the rare case where the parties’ agreement provides for some type
of appellate proceeding within the arbitration. Therefore, the AAA would be unable to respond to or consider requests
to vacate or to re-open a previously awarded arbitration.

Under federal and state laws, there are limited grounds on which a court may overturn an arbitration award, which
include the following:

   •   the award was procured by corruption, fraud, or undue means;
   •   there was evident partiality or corruption in the arbitrators;
   •   arbitrators were guilty of misconduct in refusing to postpone the hearing, upon sufficient cause shown, or in
       refusing to hear evidence pertinent and material to the controversy; or of any other misbehavior by which the
       rights of any party have been prejudiced; or
   •   the arbitrators exceeded their powers, or so imperfectly executed them that a mutual, final, and definite award
       upon the subject matter submitted was not made.


Neither the AAA nor any arbitrator will be involved in any post-hearing proceedings in a court to enforce or challenge
an arbitration award. The AAA rules provide that neither the AAA nor the arbitrator are proper parties to litigation
involving an arbitration proceeding or award. In addition, parties to arbitration under AAA rules may not call the arbitrator,
the AAA, or AAA employees as a witness in any litigation or any other proceeding relating to the arbitration. Similarly, the
arbitrator, the AAA and AAA employees are not competent to testify as witnesses in any such proceeding.

We encourage you to review the information provided at Find an Attorney or Other Legal Representation to find an
attorney or other legal representation to represent you in an arbitration or if you wish to hire an attorney to challenge or
confirm an arbitration award.




CHALLENGES TO AN ARBITRATION AWARD                                                                 APPENDIX 49adr.org
      I was employed at APFA from August 15, 1996, to November 2018. I retired
4 months after Eugenio Vargas left office because when the new administration
came in the work environment became hostile not only with the staff and an
Officer.
        I was a staff member, specifically I was the Office Coordinator at the time
that I retired. One of my many responsibilities was the inventory of furniture. I
was very thorough at what I did and had good job performance.
       Regarding the furniture in Gabby Harty1 s apartment. I clearly remember
Gabby vacated her apartment and resigned early due to personal reasons. When
the lease was almost up Rachael Early (another staff member) and I went to her
apartment and took photographs of all the furniture. Rachael was the employee
who had the keys. When the lease was over Mike Trapp, Rosemary Cooper's
brother (who is an Executive Secretary) picked up the furniture. I completed the
inventory, entered that information into the Office Coordinator computer.
       Some of Gabby's furniture was taken to consignment at Kiss it Goodbye and
the items they wouldn't take were donated.
      I would like to discuss what I know about the items on the attached
inventory sheet.
      Regarding Shane Staple1 s items. Shane moved out about the time the
administration changed hands. He provided an inventory sheet. I entered the
information into my system.
        About Chuck Ransdale's furniture. Chuck was another representative who
left his position early. I recall there still being time on his lease, so we had
another representative move into his apartment. She stayed there for the
duration of the lease. All his furnishings stayed in the apartment for use by her.
She stayed in that apartment beyond Eugenio Vargas' term so the inventory of
those items would be the responsibility of the Treasurer that came after Eugenio.
      I would also like to explain how I did my inventory. There was a file cabinet
with hanging file folders. Each Officer and representative had a hanging file with
and inventory sheet when they came into office. When Eugenio came into office
he required each rep to fill out the inventory and return it to me per the Policy
Manual. I looked over them. Then I would sign off that it was received. During his
                                                                                      1


                                                                        APPENDIX 50
   administration we started scanning these documents and saving them
   electronically.
         After I retired my Coordinator files were left accessible to other staff
   members and new Officers, some who, as I said were extremely hostile and
   vindictive. It is very well within the realm of possibility my work product was
   taken or modified by them.
          The dynamics of the office environment and the stress it created were the
   very reasons for my early and sudden retirement. l couldn't handle that stress in
   my life anymore.
          Due to dangers associated with COVID and my fears of retaliation I could
   not attend this hearing in person. I respectfully request you accept this sworn
   statement.
               Thank you.




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                                       Association of Professional
                                           Flight Attendants
                                            Representing the Flight Attendants of A�canAir1ines




September 24, 2019

VIA Return Receipt, Certified Mail #7018 0680 000134787912

Mr. Eugenio Vargas
1616 Brookhaven Cir
Bedford, TX 76022

RE: Article VII Charges

Dear Eugenio:

In accordance with Article VII of the APFA Constitution this letter is to inform you that the
enclosed charges have been filed against you in your capacity as APFA National Treasurer by
Melissa Chinery and Sandra Lee. Enclosed is a copy of the charges which were received on
September 19, 2019.

I am also enclosing a copy of Article VII of the APFA Constitution and Section 17 of the APFA
Policy Manual. These documents describe APFA's Article VII procedures.

Sincerely,


t�cJhtvu,�
Lisabeth Hillman
APFA National Secretary

Cc:    Melissa Chinery
       Sandra Lee
       APFA Board of Directors
       APFA Executive Committee
       Article VII File

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                            1004 ll\�st Euless Blvd         •    Euless. Texas 76040

                     Tel, (817} .540-0108    •   Fa>., (B17] 540-2077            •   ww,.,v.apfa.org
                                                                                                          APPENDIX 53
                                                       �-
Liz Marko

From:                        Lisabeth Hillman
Sent:                        Monday, September 23, 2019 2:28 PM
To:                          Li2 Marko
Subject:                     Art VII charges Original


From:� <melchineryc
Sent: Thursday, September 19, 2019 8:18:51 PM
To: Lisabeth Hillman <secreta
                                               ennel <�; Pauline Toms< rsfo                   ; Randy
                                          ruan<prdfw            ; Liz Geiss < ; Craig Gunter
                                  artin <�; Robert Norvell< rl                Amy Milenkovic
                         ise Sullivan< rrdu           ; Scott Hazelwood   <    ; Susan Wroble
                      .im Kaswinkel < r hi            Mischel Babi <pr h      hn Nikides <�
Subject: Article VII Charges


In accordance with Article Vll.2.A. of the APFA Constitution, please consider
this document our formal filing of Article VII charges and other policy
violations against former National Officers: Nena Martin, Vice President;
Marcy Dunaway, Secretary; and Eugenio Vargas, also known as Eduardo
Vargas, Treasurer, relating to:

• Violation of Article Vll.1.E: Theft or Embezzlement of Association monies or
property.
• Violation of Section 5 of the Trip Removal and Expense policy: Policy
Statement, which reads:

    Financial policies herein are structured to diminish any financial penalty
    that a member may incur as a result of providing Union services to Flight
    Attendants. It is not the intent of this policy for any individual to
    experience financial gain.
• Violation of Policy Manual language regarding the deliberate change of the
formula used to reimburse officers for Sick and Vacation payout as well as
profit sharing payout.
• Violation of Article VII 1.G. : Willfully acting in a manner that causes the
Association to violate its legal obligations

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                                                                                APPENDIX 54
The above National Officers financially benefitted by directing the accounting
staff to change the formula of the sick, vacation and profit sharing payouts by
including MEA (Meal Expense Allowance) and SAF (Special Assignment Fee)
monies. It is not the past practice of the institution to include MEA and SAF in
these calculations. It is explained fully to all officers upon being elected to
office how to claim expenses and the intent of these expenses. It is also
referenced in great detail in Section 5 of the Policy Manual entitled Trip
removal and Expense policy. SAF is explained in Section E.l. Intent of the SAF:

• (a) The intent of the Special Assignment Fee is to offer payment to
representatives for the days that they conduct APFA business in excess of
their normal scheduled bid line. Amounts paid under this arrangement are
reportable as wages on the representative's W2 and are subject to
withholding and payment of employment taxes.
MEA is similarly explained in Section F, 1-5 in the policy manual.
The violation of Article VII l.G. is cited because the APFA is governed under
the Labor Management Reporting and Disclosure Act of 1959 (LMRDA). Under
Title V: Safeguards for Labor Organizations it states:
• Fiduciary Responsibility of Officers of Labor Organizations: (29 U.S.C. 501)
    ( c) Any person who embezzles, stea Is, or unlawfully and willfully abstracts
    or converts to his own use, or the use of another, any of the moneys,
    funds, securities, property, or other assets of a labor organization of which
    he is and officer, or by which he is employed, directly or indirectly, shall be
    fined not more than $10,000 or imprisoned for not more than 5 years, or
    both.
Violations of the LMRDA could bring consequences to the APFA as an entity
including but not limited to Trusteeship of the organization.

As these charges await adjudication, the APFA Board of Directors is reminded
of their responsibility under the APFA Constitution, Article 111.3.L.21, ' suspend
                                                                         1



officers or representatives pursuant Article VII", and Article 111.3.L.22, "take
any and all appropriate action deemed necessary by the Board and in
accordance with this Constitution to promote the welfare of the members of
the APFA .. .". Nena Martin is presently serving as the STL President and is in
                                         2


                                                                 APPENDIX 55
charge of that Base Budget. Due to the fact that it has been established that
she has benefitted financially and has to pay back monies to the APFA, it
would follow that she be removed from her position due to a violation of
trust while these charges are being reviewed.
The relief sought is the remova I of these individual from any office they may
presently hold, review any accounting of monies and reports to determine
the amount they need to pay back to the APFA is accurate, with interest, and
that they be considered members in bad standing and barred from any future
Union work permanently.

Melissa Chinery
PHX
Sandra Lee
LAX
Sent from AOL Mobile Mail
Get the new AOL app: mail.mobile.aol.com


Sen1 from AOL. Mobile Mall
Ge.I tt,e new AOL app: mail.mobile.aol.com




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                                                             APPENDIX 56
                                                         APFA
                        EXECUTIVE COMMITTEE MEETING
                                             3Q 1 9 EC MEETING
                                              December 5-7, 2019
                                       APF A Unity Pays Conference Room


         Resolution #: 61                                             Resolution Name: Chinery-Lee v Vargas - Timely

         Maker:           Hillman                                     YES  = Yes                   ABS = Abstain       I PXY =     Proxv Vote I
                                                                      NO   = No                    NIA = Absent        I REC =     Recuse
         Second:          Seelye                                      PASS = Pass
         Date:            12/05/2019
        Time:             6:46 p.m.




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                 YES:     0            NO:    9           ABSTAIN:          0         ABSENT:         0

  Status: Passed         □         Failed    �               Tabled     □       Withdrawn            □         Show of Hands     □
WHEREAS, on September 19, 2019, Melissa Chinery and Sandra Lee filed charges against
Eugenio Vargas under Article VII of the APFA Constitution; and

WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
Committee shall review Article VII charges for timeliness; and

WHEREAS, the Executive Committee has conducted that review.

BE IT THEREFORE RESOLVED, that Melissa Chinery's and Sandra Lee's September 19,
2019 charges against Eugenio Vargas are timely.




   EC Resolution #61                                     December 5-7, 2019                                                    Page 1 of1
                                                                                                                  APPENDIX 57
                                      Association of Professional
                                          Flight Attendants
                                           Representing the Flight Attendants of AmericanAirlines




November 24, 2020

VIA Return Receipt, Certified Mail #7019 1120 0000 0179 3120

Eugenio Vargas
1616 Brookhaven Cir
Bedford, TX 76022

RE: Article VII Charges

Dear Eugenio:

In accordance with Article VII of the APFA Constitution this letter is to inform you that the
enclosed revised charges have been filed against you by Melissa Chinery and Sandra Lee.
Enclosed is a copy of the charges which were received on November 24, 2020.

I am also enclosing a copy of Article VII of the APFA Constitution and Section 17 of the APFA
Policy Manual. These documents describe APFA's Article VII procedures.

Sincerely,




�tJ;�
APFA National Secretary

Cc:    Melissa Chinery
       Sandra Lee
       APFA Board of Directors
       APFA Executive Committee
       Article VII File




                            1004 West Euless Blvd           •    Euless. Texas 76040


                                                      �-
                     Tel, [B17) 540-010B    •    Fax, [B17) 540-i:?077            •   www.apfa.org
                                                                                                     APPENDIX 58
Liz Marko




                    -
From:               melchinery-
Sent:               Friday, November 20, 2020 10:47 AM
To:                 National Secretary
Cc:                 National President; National Vice President National Treasurer; hussar.michelle    sel27995

Subject:            Vargas Charges




Please consider this the formal filing of internal charges in accordance with Article VII 2. A. of the
APFA Constitution and other Policy Manual violations against former Treasurer Eugenio Vargas.

After years of being denied the ability to view the underlying financial documentation of the Bob Ross
administration, we were finally permitted to see specific documents that prove a plethora of violations
of the APFA policy Manual as well as Constitutional violations. Our ability to see these documents
started on September 24, 2020. However, after 16 hours over two days, we still have not seen half of
documentation requested. Due to a lack of access to available dates to continue our investigation, we
are forced to file on what has been uncovered due to time limits.

In addition to the specific sections of the Constitution and Bylaws, Vargas violated the following
general duties.

Article VII Section 1.F:
        Willful violation of an express Article of this Constitution, or of a proper and express
        written resolution or policy of the Board of Directors or Policy Manual.
Article II Section 2: Obligations of members:
        Members of the Association do accept and agree to abide by this Constitution of the APFA as it
        is in force or as it may be altered, added to, deleted from or amended in accordance with the
        provisions of this Constitution. Ignorance of this Constitution will not be considered a proper
        excuse for any violation of the provisions contained herein. Inherent in the rights, privileges,
        duties and responsibilities of membership in the APFA is the obligation to responsibly exercise
        these rights, privileges, duties and responsibilities.

Article I Section 7: Definitions (for clarification of the above violations)
       E. MDuty" means an obligation of performance, care, or observance which rests upon a person
       in any position or fiduciary capacity with or as a member of the APFA.
       M: "Privilege" means a benefit or advantage enjoyed by a person in any position or fiduciary
      capacity with or as a member of the APFA.
       0. "Responsibility:" means an obligation to answer for a duty to act or failure to act by a person
      in any position or fiduciary capacity with or as a member of the APFA.
       Q. "Rights" means those powers and/or privileges inherent to a person in any position or
      fiduciary capacity with or as a member of the APFA.

Violation: Credit Card Expenses



                                                                                               APPENDIX 59
As is dictated by Federal law as well as APFA policy, the credit card is to be used for business
expenses, not for personal use. Mr. Vargas charged a rental car for the week at a cost of almost
$700 when he was on vacation in Madrid, Spain. It was confirmed by the present National Treasurer
that Mr. Vargas was indeed on vacation when the charges occurred on August 11, 2016. He also
charged meals on at least two other trips to Madrid.

 These purchases violate:

     Policy Manual Section 5 G: Business related expenses: Actual out-of- pocket expenses
     incurred by a member in conducting APFA business will be reimbursed to the extent
     provided in this policy. In all cases, receipts must be submitted to verify the expense
     and to substantiate reimbursement. Expense reimbursement is not intended to be for
     the personal profit of the APFA member, but to compensate him /her for actual
     expenses and losses, and is exclusive of other applicable reimbursement provisions
     in this policy.

     Article VII Section 1.F: Willful violation of an express Article of this Constitution, or of
     a proper and express written resolution or policy of the Board of Directors or Policy
     Manual.

Violation: Meal Expenses
The following is another large subsection of abuse involving the SAF/MEA sections of Section 5: Trip
Removal and Expense Policy. The intent of the policy is outlined in the policy statement. Policy
Manual Section 5: Trip removal and Expense Policy: .....Financial policies herein are structured to
diminish any financial penalty that a member may incur as a result of providing Union services to
Flight Attendants. It is not the intent of this policy for any individual to experience financial gain.

As stated earlier, Treasurer Vargas used the APFA credit card for his own personal use. In the brief
time we were allowed to look over the APFA credit card statements, we uncovered many meals
charged by Vargas that did not meet the requirements of the meal provisions of the APFA policy
manual. Vargas charged meals where he was the only identified person or the other participants
were also being paid MEA. The policy is clear that meals may only be reimbursed on rare and limited
occasions when entertaining outside guests and in no instance when all participants are already
receiving meal expenses. This is to prevent double dipping by having APFA pay MEA for meal
expenses and then also pay for a representative's meals. This violates Section 5.F:
     5. Business Related Expenses:
          a. Representatives are authorized to pay for and to be reimbursed for the meal, snack, or
          beverage of a guest(s) or other business associate(s) on those occasions when the
          representative would reasonably be considered the host of an authorized APFA function
          or meeting.

                      1. Discretion and good judgment should be used when exercising this privilege
                        and when incurring such legitimate and necessary Business-Related
                        Expense. Abuse, as determined by the Executive Committee, may lead to
                        the limitation and revocation of this privilege.
                     2. In no case may an individual who is otherwise receiving an APFA MEA in
                        any manner be considered the "guest" for the purposes of this provision.

Violation of Duties as Treasurer.
                                                   2

                                                                                 APPENDIX 60
As National Treasurer Vargas had a duty to safeguard APFA funds and to ensure proper procedures
were in place. Vargas failed to ensure proper oversight of credit cards for the national officers. In
addition, Vargas allowed the National Officers to receive thousands of dollars in overpayments
for sick and vacation payouts. While other National Officers were instructed to repay the funds,
Vargas claimed Bob Ross had not been overpaid. Our recent review of the financials uncovered
Ross was indeed overpaid thousands of dollars for sick and vacation payouts.
Additionally, former President Bob Ross received a "buyout" from the APFA Board of Directors, and
was compensated for leaving office. Vargas failed to properly oversee Ross' payments and allowed
Ross to receive payment for MEA, SAF and Maintaining an Office Outside Residence all of which are
not part of basic salary.

Finally, thousands of dollars of furniture, including furniture purchased by Vargas, is unaccounted
for. As Treasurer Vargas had an obligation under the APFA constitution and federal labor law to
safeguard union property. On one receipt dated 5/18/16 under Vargas's union credit card charges
we found a purchase for $8733.89 at Ashley furniture. There is no record or inventory of that furniture
nor can the furniture be located. The APFA policy manual requires that the National Treasurer
inventory equipment and monitor the transfer of equipment between representatives. This was never
done

The Treasurer has the responsibility to safeguard the funds of the APFA union members as outlined
in Article Ill Section 6.E. of the APFA Constitution: Duties of the Treasurer: The Treasurer shall be
responsible for the care and custody of the funds and securities of the APFA.

Remedy
The relief sought is:


   1.  An independent forensic audit must be accomplished to verify how much was fraudulently
      siphoned from the APFA payroll, and Mr. Vargas must pay this money back.
   2.   Mr. Vargas must be considered a member in bad standing and barred from
      representing American Airlines Flight Attendants for a period of 10 years.
   3. There must be changes to the Policy Manual so that this amount of financial malfeasance is
      not allowed to happen again.
   4. There must be a separate body of trained individuals that do not hold regular
      positions with the APFA that can oversee the annual audit.
   s. Any and All Other Relief deemed necessary.
Melissa Chinery LAX
Sandra Lee LAX


Sent from AOL Mobile Mail
Get the new AOL app: mail.mobile.aol.com




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                                     A!ii!fiDciatian of Profe!fi!fiional
                                             Flight Attendant!fi
                                           Representing the Flight Attendants of AmericanAir1ines




December 8, 2020



Eugenio Vargas
1616 Brookhaven Cir
Bedford, TX 76022

RE: Article Vil Charges

Dear Mr. Vargas:

In accordance with Article VII, Section 3 of the APFA Constitution, at its meeting on December
1, 2020, the APFA Executive Committee reviewed the Article VII Charges filed against you by
Melissa Chinery and Sandra Lee. The Executive Committee found them to be timely, specific,
and valid. Enclosed are copies of the Resolutions of the Executive Committee regarding those
charges.

Therefore, per Article VII, Section 3.A, I have forwarded the enclosed Charges to the Article VII
Arbitrator.

Section 17.S of the Policy Manual sets forth the policy regarding communications with the
Arbitrator.

Please contact me via email if you have any questions.

Sincerely,




Cc:    Melissa Chinery
       Sandra Lee
       APF A Board of Directors
       APFA Executive Committee
       Article VII File


                            1004 West Euless Blvd            •    Euless. Texas 76040

                     Tel: [B17] 540-010B     •   Fax, [B17) 540-2077               •   www.apfa.org
                                                                                                      APPENDIX 62
                                                       �·
                                               APFA
                       EXECUTIVE COMMITTEE MEETING
                                          3Q20 EC MEETING
                                            December 1-2, 2020
                                    APFA Unity Pays Conference Room
                                               Euless, TX

        Resolution #: 9                                     Resolution Name: Chinery-Lee v Vargas• Valid

        Maker:          Black                               YES     = Yes         ABS = Abstain           PXY = Pro Vote
                                                            NO      = No          NIA       = Absent      REC = Recuse
        Second:        Watson                               PASS = Pass
        Date:           12/01/2020
        Time:           2:02 p.m.




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                YES:   9            NO:    0    ABSTAIN:      0        ABSENT:          0

  Status: Passed       (3)      Failed     □       Tabled    D        Withdrawn     D           Show of Hands     D

WHEREAS, on November 20, 2020, Melissa Chinery and Sandra Lee filed charges against
Eugenio Vargas under Article VII of the APF A Constitution; and

WHEREAS, Article VII, Section 3 of the APF A Constitution provides that the Executive
Committee shall review Article VII charges for validity, and

WHEREAS, the Executive Committee has conducted that review.

BE IT THEREFORE RESOLVED, that Melissa Chinery's and Sandra Lee's November 20,
2020 charges against Eugenio Vargas are valid.




   EC Resolution #9                            December 1-2, 2020                                               Page 1 of 1


                                                                                                       APPENDIX 63
                                            APFA
                       EXECUTIVE COMMITTEE MEETING
                                   3Q20 EC MEETING
                                      December 1-2, 2020
                                APFA Unity Pays Conference Room
                                           Euless, TX

        Resolution #: 8                                  Resolution Name: Chinery-Lee v Vargas • Specific

        Maker:         Black                             YES = Yes                ABS = Abstain      PXY =    Pro Vote
                                                         NO   = No                N/A = Absent       REC =    Recuse
        Second:        Watson                            PASS = Pass
        Date:          12/01/2020
        Time:          2:00 p.m.




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                YES:   9         NO:    0    ABSTAIN:      0            ABSENT:      0

  Status: Passed       �       Failed   D       Tabled    D       Withdrawn         D      Show of Hands     D

WHEREAS, on November 20, 2020, Melissa Chinery and Sandra Lee filed charges against
Eugenio Vargas under Article VII of the APFA Constitution; and

WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
Committee shall review Article VII charges for specificity, and

WHEREAS, the Executive Committee has conducted that review.

BE IT THEREFORE RESOLVED, that Melissa Chinery's and Sandra Lee's November 20,
2020 charges against Eugenio Vargas are specific.




   EC Resolution #8                         December 1-2, 2020                                             Page 1 of 1

                                                                                                  APPENDIX 64
                                                APFA
                       EXECUTIVE COMMITTEE MEETING
                                           3Q20 EC MEETING
                                           December 1-2, 2020
                                    APF A Unity Pays Conference Room
                                                Euless, TX

        Resolution #: 7                                        Resolution Name: Chinery-Lee v Vargas • Timely

        Maker:          Black                                  YES       = Yes               ABS = Abstain         PXY =    Pro Vote
                                                               NO        = No                NIA = Absent          REC =    Recuse
        Second:         Seelye                                 PASS      = Pass
        Date:           12/01/2020
        Time:           1:57 p.m.




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                YES:   9            NO:     0      ABSTAIN:          0           ABSENT:        0

  Status: Passed       ig]       Failed    □          Tabled     □         Withdrawn           □        Show of Hands      □
WHEREAS, on November 20, 2020, Melissa Chinery and Sandra Lee filed charges against
Eugenio Vargas under Article VII of the APF A Constitution; and

WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
Committee shall review Article Vll charges for timeliness, and

WHEREAS, the Executive Committee has conducted that review.

BE IT THEREFORE RESOLVED, that Melissa Chinery's and Sandra Lee's November 20,
2020 charges against Eugenio Vargas are timely.




   EC Resolution #7                               December 1-2, 2020                                                     Page 1 of 1


                                                                                                                APPENDIX 65
fl   These pointless charges continue to cost me my own personal time, energy,
     resources, and emotional strain to prove my innocence when my time should be
     focused on my wife and children in the middle of a pandemic.




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                                                    July31,2019at 12:09PM


           (no subject)

l                  Dear Cratg.

                   Today maiks 3 weeks since both Sandrn and
                   t have came to the National ott,ce and were
                   shown all the checks for the previous Nahonat
                   Officers. We would like o:.ir vahd questtOns
                    regarding what they were for. how much the
                    overpayment was. and when will 11 be paid
                    back, answered. lt is very concerning thal both
                    Sandra and I have had to wnte so many times to
                    get vatld questions regarding our money
                     answered. These checks were pa·d out over a
                     year ago. I would think get11ng
                     miscalculated membership money �paid would
                     be a top priority.

                     Thank you in advance for your assistance with
                      this matter.




                      Melissa Chrnery




          •
                                                                                   APPENDIX 66
placed with collections on January 21, 2021 which has
been 50 days ago from today. As of today no payment
has been made.

50 days in collection and not a cent repaid!

#payupBobRoss




    [L) Like          CJ Comment               (2) Send




                                                          APPENDIX 67
